                                                                                      04/15/2019
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                       CHARLOTTESVILLE DIVISION

   ELIZABETH SINES, ET AL.,                          CASE NO. 3:17-CV-00072
                                    Plaintiffs,
   v.                                                ORDER
   JASON KESSLER, ET AL.,
                                                     JUDGE NORMAN K. MOON
                                    Defendants.


         On February 28, 2019, James Hart Stern filed a pro se motion for summary judgment,

  purportedly on behalf of Defendant National Socialist Movement (NSM). (Dkt. 433). United

  States Magistrate Judge Joel C. Hoppe recently barred Mr. Stern from participating in this action,

  as Mr. Stern is not an attorney and cannot represent NSM in his individual capacity; no lawyer

  admitted to practice in the Western District of Virginia has entered an appearance on Mr. Stern’s

  behalf for NSM, despite Judge Hoppe granting Mr. Stern multiple extensions of time in order to

  arrange for such an appearance; and Judge Hoppe accepted the notice of appearance of another

  attorney on behalf of NSM. (Dkt. 461).

         Since Mr. Stern is not himself a party to this litigation, cannot represent NSM pro se in

  his individual capacity, and has now been barred from participating in this litigation, the Court

  hereby ORDERS that his pro se motion for summary judgment, (dkt. 433), be STRICKEN

  from the Court’s active docket.

         It is so ORDERED.

         The Clerk of the Court is hereby directed to send a certified copy of this Order to all

  counsel of record.

                       15th day of April, 2019.
         Entered this _____




Case 3:17-cv-00072-NKM-JCH Document 466 Filed 04/15/19 Page 1 of 1 Pageid#: 4525
